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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                        FLORENCE DIVISION

BEACH PATIO, LLC, RAFI ADI, ELIOR                          C/A No.: 4:21-cv-_________
ADI, ZUR ADI, YAACOV LEVY, and LIAT
ADI a/k/a Liat Levy,
                                                             NOTICE OF REMOVAL
                      Plaintiffs,                           BY DEFENDANT MAXUM
                                                            INDEMNITY COMPANY
        vs.

MAXUM INDEMNITY COMPANY,

                      Defendant.


       Defendant Maxum Indemnity Company hereby gives notice, pursuant to 28 U.S.C.

§§ 1332, 1441, and 1446, that it has this day removed to the United States District Court

for the District of South Carolina, Florence Division, the above-captioned matter, originally

filed in the Circuit Court for Horry County, South Carolina. Removal is based on diversity

jurisdiction and is proper for the reasons set forth below.

                                           BACKGROUND

       This suit arises from a claim for property damage which allegedly occurred on

September 14, 2018 in Horry County, South Carolina. [Exhibit A, Summons and

Complaint at ¶¶ 14, 15]. Plaintiffs allege that Defendant Maxum Indemnity Company is

liable to them for breach of contract, bad faith refusal to pay benefits due and improper

claims practices. Plaintiffs assert that they have been damaged by Defendant Maxum

Indemnity Company’s failure to pay for wind and rain damage suffered to their property

[Id. at ¶¶ 31, 32].




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       As set forth more fully below, this is a dispute between corporations domiciled in

different states, and, upon information and belief, the amount in controversy exceeds the

sum of $75,000.00, exclusive of interest and costs. As such, this Court has jurisdiction

pursuant to 28 U.S.C. §§ 1332, and Defendant’s removal is proper.

                                    TIMELY REMOVAL

       Plaintiffs filed the Summons and Complaint in this matter on June 23, 2021 [Ex.

A]. Plaintiffs served Defendant Maxum Indemnity Company by way of service on

Defendant’s counsel on July 2, 2021 [Ex. B, Acceptance of Service]. As such, this

Notice of Removal is timely filed within thirty (30) days pursuant to 28 U.S.C. § 1446(b).

Defendant has sought no similar relief with respect to this matter.

                                DIVERSITY JURISDICTION

       The Complaint demonstrates that complete diversity of citizenship exists between

the parties. Plaintiff, Beach Patio, LLC, is a limited liability corporation domiciled in Horry

County, South Carolina. [Ex. A at ¶ 1]. Plaintiffs Rafi Adi, Elior Adi, Zur Adi, Yaacov Levy,

and Liat Adi a/k/a Liat Levi (collectively, the “Member Plaintiffs”) are all residents of Horry

County, South Carolina [Ex. A at ¶ 2]. Defendant Maxum Indemnity Company is a

corporation organized and existing under the laws of a state other than South Carolina,

i.e. Connecticut, with its principal place of business in Connecticut. [Ex. C, National

Association of Insurance Commissioners (NAIC) Property & Casualty Company

Demographics Information].

       With regard to the amount in controversy, Plaintiffs assert claims for breach of

contract, bad faith refusal to pay benefits due, and improper claims practices, [Ex. A at

¶¶ 33, 36, 41]. Plaintiffs seek actual damages, consequential damages, punitive




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damages, and attorney’s fees. [Ex. A ¶ A]. This plea satisfies the amount in controversy

requirement. See Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547,

554 (2014) (Defendant’s notice of removal “need include only a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold”).

                                         VENUE

       Venue for removal is proper in this district and division under 28 U.S.C. § 1441(a).

The Florence Division of the District of South Carolina embraces the Horry County Circuit

Court for the State of South Carolina, the forum in which the removed action was pending.

                                         NOTICE

       Defendant is giving counsel for the Plaintiffs written notice of the removal of this

action and has provided a copy of the Notice of Removal to the Clerk of Court for the

Circuit Court for Horry County, as required by 28 U.S.C. § 1446(d).

                             PROCESS AND PLEADINGS

       Exhibit A constitutes all process, pleadings and orders filed in this matter served

on Defendant. Defendant has filed no pleadings in this matter at present, but will move,

plead, or otherwise respond to the complaint within seven (7) days of the filing of this

Notice of Removal, in accordance with Rule 81(c) of the Federal Rules of Civil Procedure.

       Defendants Maxum Indemnity Company has simultaneously served herewith its

Rule 7.1 Corporate Disclosure Statements and responses to Local Civ. Rule 26.01

(D.S.C.) Interrogatories.

                                     CONCLUSION

       WHEREFORE, this action is hereby removed from the Horry County Circuit Court

to the United States District Court for the District of South Carolina, Florence Division,




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pursuant to the applicable sections of the United States Code.



                                        Respectfully submitted,

                                         s/R. Bruce Wallace
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                                         Maxum Indemnity Company
July 29, 2021




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                           CERTIFICATE OF SERVICE

      This is to certify that a copy of the foregoing DEFENDANT’S NOTICE OF
REMOVAL has been served upon the following counsel of record by email delivery,
addressed as shown below this 29th day of July, 2021.

      David J. Gundling, Esquire
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